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Sean B. Davis – SBT #24069583
S.D. Tex. No. 1048341
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ATTORNEYS FOR WELLS FARGO BANK,
NATIONAL ASSOCIATION, AS ADMINISTRATIVE
AGENT
                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


IN RE:                                        §   Case No. 18-30197(DRJ)
                                              §
LOCKWOOD HOLDINGS, INC., et al.,              §   Chapter 11
                                              §
               DEBTORS.                       §   Jointly Administered
                                              §


                   NOTICE OF APPEARANCE, REQUEST FOR ALL
                  NOTICES, AND DEMAND FOR SERVICE OF PAPERS

       PLEASE TAKE NOTICE that Winstead PC ("Winstead"), appearing on behalf of

Wells Fargo Bank, National Association, as Administrative Agent, hereby submits this Notice of

Appearance in the above-captioned case and requests notice of all hearings and conferences

herein and makes demand for service of all papers herein, including, without limitation, all

papers and notices pursuant to Bankruptcy Rules 2002, 3017, 9007 and 9010, and § 342 of the

Bankruptcy Code. All notices given or required to be given in this case shall be served upon

Winstead as follows:


______________________________________________________________________________
NOTICE OF APPEARANCE                                                               PAGE 1 of 3
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                                     Rakhee V. Patel
                                     Annmarie Chiarello
                                     Winstead PC
                                     500 Winstead Building
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                                     e-mail: rpatel@winstead.com
                                     e-mail: achiarello@winstead.com

                                     and

                                     Sean B. Davis
                                     WINSTEAD PC
                                     600 Travis Street
                                     Suite 5200
                                     Houston, Texas 77002
                                     Telephone: (713) 650-8400
                                     Facsimile: (713) 650-2400
                                     E-mail: sbdavis@winstead.com


       This notice of appearance is not a waiver of any right to challenge the eligibility of the

Debtor for relief under the Bankruptcy Code.

       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules and sections of the Bankruptcy Code

specified above, but also includes, without limitation, the schedules, statement of financial

affairs, operating reports, any plan of reorganization or disclosure statement, any notice of fee

applications, any letter, application, motion, complaint, objection, claim, demand, hearing,

petition, pleadings or request, whether transmitted or conveyed by mail, electronic delivery, hand

delivery, telephone, facsimile, telegraph, telex or otherwise filed with or delivered to the

Bankruptcy Clerk, Clerk, Court, or Judge (as those terms are defined in Bankruptcy Rule 9001)

in connection with and with regard to the above-referenced bankruptcy case and any adversary

proceeding related thereto.
______________________________________________________________________________
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DATED: January 24, 2018.

                                                     Respectfully submitted,

                                                     WINSTEAD PC
                                                     500 Winstead Building
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                                                     Dallas, Texas 75201
                                                     (214) 745-5400 (Phone)
                                                     (214) 745-5390 (Facsimile)
                                                     e-mail: rpatel@winstead.com
                                                     e-mail: sbdavis@winstead.com
                                                     e-mail: achiarello@winstead.com

                                                     By: /s/ Rakhee V. Patel
                                                         Rakhee V. Patel – SBT # 00797213
                                                         S.D. Tex. No. 23571
                                                         Sean B. Davis 1 – SBT # 24069583
                                                         S.D. Tex. No. 1048341
                                                         Annmarie Chiarello – SBT # 24097496
                                                         S.D. Tex. No. 2936034

                                                     ATTORNEYS FOR WELLS FARGO BANK,
                                                     NATIONAL ASSOCIATION, AS
                                                     ADMINISTRATIVE AGENT


                                        CERTIFICATE OF SERVICE

       The undersigned certifies that on January 24, 2018, a true and correct copy of the
foregoing Notice of Appearance will be electronically mailed to the parties that are registered or
otherwise entitled to receive electronic notices in this case pursuant to the Electronic Filing
Procedures in this District.



                                                     /s/ Annmarie Chiarello
                                                     One of Counsel




1
    Resident in Winstead's Houston office.
______________________________________________________________________________
NOTICE OF APPEARANCE                                                                   PAGE 3 of 3
